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ELECTRONICALLY FILED

                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                              NORTHERN DIVISION AT ASHLAND
                                 CASE NO.: 17-cv-00012-HRW


JOSEPH ALMEIDA, by and through his Guardian
MARY ANN ALMEIDA,                                                                PLAINTIFF


v.


GGNSC VANCEBURG, LLC d/b/a
GOLDEN LIVINGCENTER-VANCEBURG;
GPH VANCEBURG, LLC;
GGNSC ADMINISTRATIVE SERVICES, LLC;
GGNSC CLINICAL SERVICES, LLC;
GOLDEN GATE NATIONAL SENIOR CARE, LLC;
GOLDEN GATE ANCILLARY, LLC;
JOY DINGESS, in her capacity as ADMINSTRATOR OF
GOLDEN LIVINGCENTER-VANCEBURG; and
JOHN DOES 1 THROUGH 5, UNKNOWN DEFENDANTS;                                   DEFENDANTS

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                       AGREED ORDER OF DISMISSAL
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         Plaintiff, Joseph Almeida, by and through his Guardian, Mary Ann Almeida, and

Defendants, GGNSC Vanceburg, LLC d/b/a Golden LivingCenter-Vanceburg; GPH Vanceburg,

LLC; GGNSC Administrative Services, LLC; GGNSC Clinical Services, LLC; Golden Gate

National Senior Care, LLC; Golden Gate Ancillary, LLC; Joy Dingess, in her capacity as

Administrator of Golden LivingCenter-Vanceburg; and John Does 1 through 5, Unknown

Defendants, by counsel, having agreed to settle all claims in connection with this matter and

settlement having occurred;
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         IT IS HEREBY ORDERED that this case and all claims against the Defendants may be

and the same is hereby DISMISSED WITH PREJUDICE, all matters in controversy and all

claims among all the parties having been settled, with each party bearing their own costs and

attorney’s fees. There being no just cause for delay, this Order is final and appealable.


AGREED TO;
TO BE ENTERED:


/s/ J. Peter Cassidy, III                            /s/ Stephen M. Garcia, Esq. – with permission
J. Peter Cassidy, III, Esq.                          Stephen M. Garcia, Esq.
Quintairos, Prieto, Wood & Boyer, P.A.               Garcia, Artigliere & Medby
2452 Sir Barton Way, Ste. 300                        444 E. Main St., Ste. 108
Lexington, KY 40509                                  Lexington, KY 40507
COUNSEL FOR DEFENDANTS                               COUNSEL FOR PLAINTIFF




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